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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA                      :    CRIMINAL ACTION
                                               :
                         v.                    :    No. 20CR372
                                               :
 DESLOUIS EDOUARDO, JR.                        :


                                        ORDER

       Upon independent review of the Report and Recommendation of U.S. Magistrate Judge

Timothy R. Rice, and the transcript of the guilty plea proceedings, it is ORDERED that the

Report and Recommendation is APPROVED and ADOPTED. I accept the guilty plea of

Deslouis Edouard, Jr., entered on October 6, 2021. Sentence will be imposed on January 19,

2022 at 10:00 A.M. in a Courtroom to be determined.


                                            BY THE COURT:


  Oct. 13, 2021                              /s/ Jeffrey L. Schmehl
                                            _______________________
                                            Jeffery L. Schmehl
                                            Chief, U.S. District Court Judge
